      Case 1:19-cv-00185United States Courts
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                              Southern District of Texas
                                     &/>ED
                     August 07, 2020
UNITED STATES DISTRICT COURT                                         SOUTHERN DISTRICT OF TEXAS
                           David J. Bradley, Clerk of Court

                   Motion and Order for Admission Pro Hac Vice

      Division            Brownsville                         Case Number              1:19-CV-185

                                               Ruben Gutierrez


                                                     versus
                                            Luis V. Saenz, et al.



           Lawyer’s Name                   Jessica Tsang
                                           Federal Community Defender Office for the
                Firm                       Eastern District of Pennsylvania
                Street                     Philadelphia, 19106
          City & Zip Code                  (215) 928-0520
         Telephone & Email                 jessica_tsang@fd.org
      Licensed: State & Number             Pennsylvania, 326885
       Federal Bar & Number                New York, 5544085



 Name of party applicant seeks to                                   Ruben Gutierrez
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:        8/7/2020          Signed:                           /s/ Jessica Tsang



 The state bar reports that the applicant’s status is:   Active
               8/7/2020
 Dated:                          Clerk’s signature    s| M. Mapps



               Order
                                                     This lawyer is admitted pro hac vice.

Dated:
                                                              United States District Judge
